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                                   4                                   UNITED STATES DISTRICT COURT

                                   5                                 NORTHERN DISTRICT OF CALIFORNIA

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                                   7                                                           Case No. 21-cv-01155-EJD (SVK)
                                   8       IN RE ACCELLION, INC. DATA                          ORDER FOLLOWING DISCOVERY
                                           BREACH LITIGATION                                   HEARING AND EXTENDING THE
                                   9                                                           SCHEDULE
                                  10                                                           Re: Dkt. No. 340

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                                  12             Before the Court is the discovery dispute regarding Defendant’s request to compel
Northern District of California
 United States District Court




                                  13   Plaintiffs to produce documents previously produced to Plaintiffs by the Regents of the University

                                  14   of California (“UC Regents”) in a related action styled as Erazo, et al. v. Regents of the University

                                  15   of California.1 Dkt. 340 at 1. The Court issued a tentative ruling and ordered further briefing by

                                  16   Defendant and UC Regents. Dkt. 352. After submitting their briefing and engaging in meet-and-

                                  17   confer efforts, including a limited production of documents, all three parties came before the Court

                                  18   for a hearing on May 27, 2025. Having reviewed the submissions, the relevant law and based

                                  19   upon arguments presented during the hearing, the Court GRANTS-IN-PART Defendant’s request

                                  20   as follows:

                                  21             •   At least some portion of the UC Regents’ production in the Erazo case is relevant to

                                  22                 the instant case and should be produced to Accellion by Plaintiffs.

                                  23             •   Accordingly, all sides are to meet and confer in accordance with this Court’s standing

                                  24                 order by May 30, 2025 to identify all documents produced in the Erazo action that

                                  25                 relate to either (1) Accellion or (2) the file transfer software (“FTA”) used by UC

                                  26                 Regents and at issue in this litigation. As discussed at the hearing, a request for

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                                           UC Regents are not a party to this action.
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                                   1             production need not specifically refer to Accellion or FTA to have led to the

                                   2             production of responsive documents.

                                   3         •   Plaintiffs shall then produce such documents with all reasonable diligence.

                                   4         •   If specific categories of documents or requests for production remain in dispute, the

                                   5             parties to this dispute shall file a supplemental joint statement not to exceed five pages

                                   6             no later than June 6, 2025 identifying the issues that remain in dispute. The Court

                                   7             will set a further discovery hearing for June 12, 2025 at 10:00 am via

                                   8             videoconference.

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                                  10         SO ORDERED.

                                  11   Dated: May 27, 2025

                                  12
Northern District of California
 United States District Court




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                                                                                                   SUSAN VAN KEULEN
                                  14                                                               United States Magistrate Judge
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